                              NO. 07-12-00294-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL C
                                       
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NOVEMBER 14, 2012
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                       STEPHONE KEITH BRAZIEL, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
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                 FROM THE 27TH DISTRICT COURT OF BELL COUNTY;
                                       
                    NO. 69063; HONORABLE JOE CARROLL, JUDGE
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Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

                              MEMORANDUM OPINION
                                       
	Appellant, Stephone Harrell Braziel, appeals his conviction for burglary of a building, pleas of true to the enhancement paragraphs, and subsequent sentence of confinement for nine years in the Institutional Division of the Texas Department of Criminal Justice.  We affirm.
	Appellants attorney has filed an Anders brief and a motion to withdraw.  Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 498 (1967).  In support of his motion to withdraw, counsel certifies that he has diligently reviewed the record, and in his opinion, the record reflects no reversible error upon which an appeal can be predicated.  Id. at 744-45.  In compliance with High v. State, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978), counsel has candidly discussed why, under the controlling authorities, there is no error in the trial court's judgment.  Additionally, counsel has certified that he has provided appellant a copy of the Anders brief and motion to withdraw and appropriately advised appellant of his right to file a pro se response in this matter.  Stafford v. State, 813 S.W.2d 503, 510 (Tex.Crim.App. 1991).  The Court has also advised appellant of his right to file a pro se response.  Appellant has not filed a response.
By his Anders brief, counsel raises grounds that could possibly support an appeal, but concludes the appeal is frivolous.  We have reviewed these grounds and made an independent review of the entire record to determine whether there are any arguable grounds which might support an appeal.  See Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); Bledsoe v. State, 178 S.W.3d 824 (Tex.Crim.App. 2005).  We have found no such arguable grounds and agree with counsel that the appeal is frivolous.
Accordingly, counsel's motion to withdraw is hereby granted, and the trial courts judgment is affirmed.
							Mackey K. Hancock
							         Justice
Do not publish.  
